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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND

                                            )
  JOHN DOE,                                 )
      Plaintiff,                            )
                                            )
       v.                                   )         C.A. No. 17-191-JJM-LDA
                                            )
 BROWN UNIVERSITY,                          )
    Defendant.                              )
 _________________________ )

                                        ORDER

        The parties have informally brought a discovery dispute to the Court by letters,

 at the invitation of the Court. Plaintiff, John Doe, filed a First and Second Request

 for Production of Documents to the Defendant, Brown University. Brown filed its

 responses and objected to some requests. The parties tried to resolve the dispute and,

 upon not resolving them, are seeking a court ruling on these objections.

       After a review of the letters, and the entire file, the Court issues the following

 order about the discovery dispute between the parties.


 Request No. 20: All documents provided to any independent contractors, agents or
 employees of Brown concerning the operation, interpretation, or application of
 Brown's racial discrimination policies from January 1, 2011 to the present.

       Brown objects to this request on relevance and proportionality grounds

 claiming that Plaintiff filed no complaint with Brown for racial discrimination.

 Brown also objects "because its scope includes matters relating to faculty under

 Brown's faculty rules or its employees under its personnel policies, which have no

 relevance to this litigation. Also, the stated time period is overly broad." The first
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  objection does not hold weight because Plaintiff plead claims under Title VI for racial

  discrimination and so discovery for some documents on Brown's operation,

  interpretation, or application of the racial discrimination policy is relevant.

  Proportionality is the big question. How broadly should the Court let the Plaintiff

 search for these documents? Brown should produce the information relating to its

 racial discrimination policies for students from 2013·2018-the period Plaintiff was

 on campus-including its interpretation, application, or operations.


 Request No. 24: Any and all documents for each and every complaint or allegation of
 sexual misconduct received by Defendant that was made by a student or employee
 from January 1, 2011 to the present, demonstrating the following information: (a)
 Complaint/allegation, (b) Identify the gender and race of both the complainant(s) and
 respondent, (c) Identify the investigator for each complaint, (d) Identify whether the
 respondent filed a counter·complaint against the complainant, (e) Any findings made
 by Brown, (f) Any document memorializing the outcome, (g) Any decision resulting
 from an appeal, (h) Any public announcement related to the complainant/allegation
 and/or outcome.

        Brown objects to this request on relevance and proportionality grounds,

 claiming "it would require Brown to compile and produce all the case files and

 communications associated with sexual misconduct cases dating back eight years."

 Relevancy is not an issue, proportionality is and whether the Federal Educational

 Rights and Privacy Act ("FERPA'') applies. Under FERPA, Brown must notify the

 individuals who appear in the school records who then must approve the disclosure

 before producing these documents.        Brown can provide these documents with

 redactions of personal identifying information other than the race/gender of the

 complainant/respondent. The Court again narrows the period to the 2013·2018·time

 frame that Plaintiff was at Brown.


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 Request No. 25: Any and all documents for each and every complaint or allegation of
 racial discrimination received by Defendant that was made by a student or employee
 from January 1, 2011 to the present, demonstrating the following information: (a)
 Complaint/allegation, (b) Identify the race and gender of both the complainant, (c)
 Any findings made by Brown, (d) Any document memorializing the outcome, (e) Any
 decision resulting from an appeal, (D Any public announcement related to the
 complainant/allegation and/or outcome.

        Relevance is again not an issue because Plaintiff plead a Title VI racial

 discrimination claim. It is immaterial for discovery purposes that Plaintiff filed no

 administrative claim with Brown for racial discrimination. This request falls into the

 same issue as Request 24 so that Brown must supply documents with proper

 redactions. The Court limits the request to 2013·2018.


 Request No. 26: All documents, communications and reports filed with the United
 Stated Department of Education, since January 1, 2011 to the present, conceming
 Brown's Title IX compliance and incidents of alleged sexual misconduct at Brown.

       Brown objects to this request on relevance and proportionality grounds,

 particularly it produced documents confidentially to the Department of Education.

 The documents are relevant to the litigation. Brown will produce the documents that

 are subject to FERPA with proper redactions. The Court again limits the request to

 2013·2018.

 Request No. 31: Any and all statistical compilations prepared by or on behalf of Brown
 concerning incidents of alleged sexual misconduct at the University, including all
 other documents reporting the gender of the complainant and alleged perpetrator,
 the nature of the alleged misconduct, and the resolution or outcome of the complaint
 and any disciplinary process since January 1, 2009 to the present addressed in the
 statistical compilations.

       Brown objects to this document request on both relevance and proportionality

 grounds. Brown refers Plaintiff to Brown's answer to Interrogatory No. 1, which


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 supplies proper responsive information. The Defendant is correct, the Plaintiff is

 requesting the same information. The Court sees no major difference between the

 requests.


 Request No. 32: Any and all statistical compilations prepared by or on behalf of Brown
 concerning incidents of alleged racial discrimination at the University, including all
 other documents reporting the gender of the complainant and alleged perpetrator,
 the nature of the alleged misconduct, and the resolution or outcome of the complaint
 and any disciplinary process since January 1, 2009 to the present addressed in the
 statistical compilations.

        Brown objects to this request on relevance and proportionality grounds. The

 Court narrows this request to 2013·2019 student matters. So long as the statistics,

 if in existence, do not have identifying information, the Court requires Brown to

 produce it.


 Request No. 33: Any audits, reviews or analyses prepared by Brown or any third party
 relating to Brown's student disciplinary procedures; separation orders; Brown's Title
 IX policies and procedures and compliance with Title IX; and Brown's racial
 discrimination policies since January 1, 2009 to the present.

    Brown objects to this request on relevancy and proportionality grounds. Brown

 also objects to this request to the extent that it seeks documents protected by the

 attorney-client privilege or work product doctrine. Without waving these objections,

 Brown refers Plaintiff to the two reports issued by its Sexual Assault Task Force,

 which met during the 2014·15 academic year. Brown thinks its response identifying

 Sexual Task Force reports was responsive to this request.      This is a reasonable

 request in that it seeks information/documents that are standard documents having

 procedures and policies for Title IX and race discrimination. Brown should produce



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 the requested documents. Brown mist list on a privilege log any documents it claims

 are protected by a privilege.


 Request No. 5 (Second RFP): Any and all documents for each and every complaint or
 allegation of gender discrimination received by the Defendant that was made by a
 student or employee from January 1, 2011 to the present, demonstration the
 following information: (a) Complaint/allegation, (b) Identify the gender and race of
 both the complainant(s) and respondent, (c) Identify the investigator for each
 complaint, (d) Identify whether the respondent filed a counter-complaint against
 complainant, (e) Any findings made by Brown, (f) Any document memorializing the
 outcome, (g) Any decision resulting from the appeal, and (h) Any public
 announcement related to the complaint/allegation and/or outcome.

       Brown objects because Plaintiff repeats requests from his First Request for

 Production of Documents and now seeks to broaden their scope by referring to

 matters of gender discrimination that exceed the scope of student sexual misconduct

 matters. Brown objects to this request on relevance, proportionality and FERPA

 grounds.      Defendant's objection lacks merit because this request socks

 information/documents from gender-based discrimination complaints filed with

 Brown. Gender-based discrimination is separate from sexual misconduct cases and

 so this is a separate request. The Court however, similarly narrows the scope of the

 request to the years of enrollment. And documents related to student complaints,

 appropriately redacted.




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 IT IS SO ORDERED.




 John J. McCo 1ell, Jr.
 United States Dist1·ict Judge

 March 11, 2019




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